 8:14-cr-00290-JFB-TDT           Doc # 57   Filed: 01/09/15   Page 1 of 2 - Page ID # 118




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )            Case No. 8:14CR290
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )                   ORDER
TONY NUNN,                                  )
                                            )
                    Defendant.              )

      This case came before the Court on a Petition for Action on Conditions of Pretrial
Release (#51). On December 31, 2014, Pretrial Services Officer Theresa Rerucha
submitted a Petition for Action on Conditions of Pretrial Release alleging that Defendant
had violated conditions of release as follows:
      7. The defendant shall:
              (a) truthfully report to the United States Pretrial Services Agency as
      directed [telephone no. (402) 661-7560] and comply with their directions.
              (o) Defendant shall submit to any method of testing at his/her own
      expense as required by the officer for determining whether the defendant is
      using a prohibited substance. Such methods may be used with random
      frequency and may include urine testing, the wearing of a sweat patch, blood
      tests, and/or a remote alcohol testing system. Defendant shall not obstruct
      or attempt to obstruct or tamper in any fashion with the efficiency and
      accuracy of any substance testing equipment, nor submit samples of body
      fluids which are not his/her own, nor otherwise adulterate any samples
      submitted for testing. All collections of fluids for testing shall be at the
      defendant's expense, payable at the time of collection.

      Tony Nunn has failed to report to Pretrial Services for weekly in office check
      ins on 3 separate occasions: December 16, 2014; December 23, 2014; and
      December 30, 2014. This is in violation of condition 7(a).

      Tony Nunn has failed to report for scheduled drug testing on two occasions:
      December 17, 2014; and December 29, 2014. This is in violation of condition
      7(o).

A warrant for Defendant’s arrest was issued.
      Defendant appeared before the undersigned magistrate on January 9, 2015. Justin
Eichmann represented Defendant. Martin Conboy, Assistant United States Attorney,
 8:14-cr-00290-JFB-TDT        Doc # 57     Filed: 01/09/15    Page 2 of 2 - Page ID # 119




represented the Government. After being advised of the nature of the allegations, rights,
and the consequences if the allegations were found to be true, Defendant admitted the
allegations. The Court took judicial notice of the Memorandum of Pretrial Services Officer
Theresa Rerucha dated January 8, 2015,. The Court finds the allegations set out in the
petition are generally true and finds the Defendant violated the conditions of release.
       After providing both parties an opportunity for allocution as to disposition and
considering the report of Pretrial Services, I find the Order Setting Conditions of Release
(#25) should be revoked. I find Defendant is unlikely to abide by conditions of release. I
find that there is no condition or combinations of conditions that would reasonably assure
Defendant’s presence for further proceedings, or the safety of the community if Defendant
were to be released upon conditions.
       IT IS ORDERED:
       1. The Petition for Action on Conditions of Pretrial Release (#51) is granted;
       2. The August 27, 2014, Order Setting Conditions of Release (#25) is hereby
revoked; and
       3. Defendant is committed to the custody of the Attorney General or his designated
representative for confinement in a correctional facility separate, to the extent practicable,
from persons awaiting or serving sentence or being held in custody pending appeal.
Defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel. On order of the Court of the United States or on the request of an attorney for the
Government, the person in charge of the correctional facility shall deliver Defendant to the
United States Marshal for purpose of an appearance in connection with a court proceeding.
       Dated this 9th day of January 2015.

                                           BY THE COURT:


                                           s/ F.A. Gossett, III
                                           United States Magistrate Judge
